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                                                       THE HONORABLE ROBERT J. BRYAN
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 4
                                  IN THE UNITED STATES DISTRICT COURT
 5                              FOR THE WESTERN DISTRICT OF WASHINGTON
                                              AT TACOMA
 6
     HANA ETCHEVERRY, Individually and On
 7   Behalf of All Others Similarly Situated,
                                                  Case No. 3:19-cv-05261-RJB-MAT
 8
                      Plaintiff,
 9           v.
                                                  PLAINTIFF’S MOTION FOR
     FRANCISCAN HEALTH SYSTEM D/B/A               PRELIMINARY APPROVAL OF CLASS
10   CHI FRANCISCAN HEALTH,                       AND COLLECTIVE SETTLEMENT
11   FRANCISCAN MEDICAL GROUP,
     FRANCISCAN HEALTH VENTURES,                  NOTED FOR HEARING: TBD
12   HARRISON MEDICAL CENTER, and
     HARRISON MEDICAL CENTER
13   FOUNDATION.
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                      Defendants.
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27   MOTION FOR PRELIMINARY APPROVAL OF                         SCHNEIDER WALLACE
     CLASS AND COLLECTIVE ACTION SETTLEMENT                     COTTRELL KONECKY LLP
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 1                                         I.    INTRODUCTION
 2          Plaintiff Hana Etcheverry hereby moves for preliminary approval of the Stipulation of Class
 3   and Collective Action Settlement (the “Settlement Agreement” or the “Settlement,” attached as
 4   Exhibit 1 to the accompanying Declaration of Carolyn H. Cottrell). The Settlement resolves all of
 5   the claims in this action on a class and collective basis. As such, Plaintiff moves for an Order:
 6          (1)      Granting preliminary approval of the Settlement Agreement;
 7          (2)      Conditionally certifying the Class for settlement purposes;
 8          (3)      Approving the proposed schedule and procedure for completing the final process
 9                   for the Settlement, including the Final approval Hearing;
10          (4)      Approving the Class Notice and Claims Form (attached as Exhibit 2 to the
11                   Settlement Agreement);
12          (5)      Preliminarily appointing and approving Schneider Wallace Cottrell Konecky LLP
13                   and Terrell Marshall Law Group PLLC as Counsel for the Class and Collective
14                   members;
15          (6)      Preliminarily approving Class Counsel’s request for attorneys’ fees and costs;
16          (7)      Preliminarily appointing and approving Plaintiff Etcheverry as Class Representative;
17          (8)      Preliminarily appointing and approving Settlement Services, Inc. as the Settlement
18                   Administrator; and
19          (9)      Authorizing the Settlement Administrator to mail and email (if email addresses are
20                   available) the approved Class Notice and Claims Form to the Class and Collective
21                   members.
22          Plaintiff brings this Motion under Rule 23(e) and the long-established precedent requiring
23   Court approval for Fair Labor Standards Act (“FLSA”) settlements. The Motion is based on the
24   following Memorandum of Points and Authorities, the Declaration of Carolyn Cottrell, and all other
25   records, pleadings, and papers on file in the action and such other evidence or argument as may be
26

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 1   presented to the Court at the hearing on this Motion. Plaintiff also submits a Proposed Order
 2   Granting Preliminary Approval of Class and Collective Action Settlement with the moving papers.
 3              This class and collective action (the “Action”) is brought by Plaintiff Etcheverry, on behalf
 4   of herself and current and former non-exempt workers with direct patient care responsibilities,
 5   including Registered Nurses, Licensed Practical Nurses, Certified Nursing Assistants, and others
 6   similarly situated who worked for a medical facility operated by Defendants Franciscan Health
 7   System d/b/a CHI Franciscan Health, Franciscan Medical Group, Franciscan Health Ventures, and
 8   Harrison Medical Center, and Harrison Medical Center Foundation (“Defendants” or “CHI
 9   Franciscan”) and were subjected to a 30-minute automatically deducted meal period from April 9,
10   2015 through the date of preliminary approval of the Settlement (for the Washington State law
11   claims), and from April 9, 2016 through the date of preliminary approval of the Settlement (for the
12   FLSA claims).1 The Action is based on Defendants’ alleged violations of Federal and Washington
13   labor laws. After more than a year and a half of litigation, including mediation and exhaustive
14   negotiations over the scope and terms of settlement following mediation, the Parties have reached
15   a global settlement of the Action, memorialized in the proposed Settlement Agreement. Plaintiff
16   seeks preliminary approval of the Settlement.
17              The Parties have resolved the claims of approximately 7,300 direct patient care workers, for
18   a total settlement of $5,500,000. With this proposed Settlement, the Parties are resolving numerous
19   wage and hour claims unlikely to have been prosecuted as individual actions. The Settlement
20   provides an excellent benefit to the Class, and an efficient outcome in the face of protracted
21   litigation. The Settlement is fair, reasonable, and adequate in all respects, and Plaintiff respectfully
22   requests the Court grant the requested approvals.
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       Excluding the time period covered by any previous settlement involving the Class including, but
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     not limited to, a settlement with St. Joseph Medical Center which applied to registered nurses
26   through November 30, 2016.

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 1                                  II.    FACTUAL BACKGROUND
 2           Plaintiff is a former non-exempt employee of Defendants, who worked as a nurse at Harrison
 3   Medical Center in Bremerton, Washington. See Pl.’s Compl. ¶¶ 12, 34. Defendants operate a
 4   network of hospitals and clinics that provide healthcare services throughout the State of
 5   Washington. Id. at ¶ 29. Plaintiff and the Settlement Class members work for Defendants as
 6   hourly-paid, non-exempt employees with direct patient care responsibilities, including nurses,
 7   aides, technicians, and the like. See Declaration of Carolyn Cottrell at ¶ 8.
 8           Plaintiff and Opt-In Plaintiffs allege that they, and the putative Class, performed work for
 9   Defendants during unpaid meal periods due to Defendants’ auto-deduct policy, before clocking in,
10   and after clocking out, that should be compensated under the FLSA and Washington law. In
11   particular, Plaintiffs allege they were required to remain on-duty during their unpaid meal breaks
12   in accordance with Defendants’ practices, policies, and as a requirement to abide by their patient
13   care-related ethical obligations to their patients. Id. at ¶¶ 8-11. Plaintiffs also allege they were
14   required to arrive early for their shifts, but were instructed to remain clocked out while they
15   prepared for their day and were required to clock in only within a few minutes of their scheduled
16   start time. Id. Plaintiffs also allege they were required to clock out within a few minutes of their
17   end-of-shift, but were expected to stay late to complete charting and assist other hospital personnel.
18   Id.
19           Defendants have at all times denied, and continue to deny, these allegations, and deny any
20   and all liability for Plaintiff’s claims. Defendants further deny that Plaintiff’s allegations are
21   appropriate for class/collective treatment for any purpose other than for settlement purposes only.
22   Specifically, Defendants argued that Plaintiff’s class action complaint would fail for both
23   substantive and procedural issues. Defendants contended that their auto-deduct policy, as well as
24   their other timekeeping policies, were consistent with applicable law that to the extent there were
25   any violations of the law, they occurred on an “ad hoc” basis and contrary to company policy.
26   Because Defendants claimed the policies were consistent with the law and any violations of the law
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 1   were done on an ad hoc basis, Defendants did not believe that the claims were susceptible to class
 2   certification.
 3                                  III.       PROCEDURAL HISTORY
 4          Plaintiff filed this lawsuit against Defendants on April 9, 2019. See ECF 1. In her
 5   Complaint, Plaintiff alleges that Defendants violate the FLSA and the wage and hour laws of
 6   Washington by failing to pay non-exempt patient care workers their wages earned during unpaid
 7   meal periods, and for work performed while off-the-clock. On this basis, Plaintiff brought claims
 8   against CHI Franciscan on behalf of a putative FLSA collective and a putative Washington class.
 9   Following a motion to dismiss that was denied, Defendants answered the lawsuit on August 15,
10   2019, and asserted various affirmative defenses. See ECF Nos. 40-44.
11          The parties thereafter attended private mediation on August 27, 2020, mediated by Cliff
12   Freed. See Cottrell Decl. at ¶ 18. As a result of arm’s length and good faith negotiations during
13   that settlement conference, and through continued negotiations over the following months with
14
     Mr. Freed acting in a continued mediator capacity, the parties reached a settlement in principle on
15
     or about January 29, 2021. Id.; see also ECF 61. Over the course of the next few months, the
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     parties undertook the process of drafting, revising, and finalizing the settlement agreement terms,
17
     distilling and crystalizing those terms into a written settlement agreement, and agreeing on the
18
     form and content of a settlement notice/claims form process. See Cottrell Decl. at ¶ 20. The final
19
     version of the Settlement Agreement was agreed as to form on June 3, 2021. Id. at ¶ 21.
20
                                    IV.    TERMS OF THE SETTLEMENT
21
              A. Basic terms and value of the Settlement.
22
            CHI Franciscan has agreed to pay a non-reversionary Gross Settlement Amount of
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     $5,500,000 to settle the case. Id. at ¶ 22. The Net Settlement Amount, which is the amount available
24
     to pay settlement awards to the Class members, is defined as the portion of the Gross Settlement
25
     Amount remaining after deduction of Court approved Class Representative Service Payment
26
     ($10,000 to Plaintiff Etcheverry), Settlement Administration Costs to the Settlement Administrator
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 1   (estimated to be $72,650), and Class Counsel Award (an amount of one-third (33.3%) of the Gross
 2   Settlement Fund, as determined by the Court, plus costs not to exceed $11,000). Id.
 3          The Gross Settlement amount is a negotiated amount that resulted from substantial arms’
 4   length negotiations and significant investigation and analysis by Plaintiff’s counsel. Plaintiff’s
 5   counsel based their damages analysis and settlement negotiations on both formal and informal
 6   discovery, including payroll and timekeeping data, as well as interviews with dozens of class
 7   members across numerous healthcare facilities owned/operated by Defendants. Id. at ¶ 23.
 8   Plaintiff’s counsel built a comprehensive damage model from the payroll and timekeeping data
 9   produced by Defendants, and applied formulas to determine the total potential damages for unpaid
10   meal breaks, rest periods, and off-the-clock work for a 20% randomized sample of the putative class
11   members based on a number of different scenarios based on outreach/interview results (e.g.,
12   including probabilities of class/collective certification, probabilities of winning on the merits, and
13   different outlooks based on variations in the class-wide assumptions for average number of minutes
14   worked while off-the-clock). Id. at ¶¶ 23-24.
15          Using these formulas and scenarios, Plaintiff’s counsel calculated the total potential exposure
16   if Plaintiff prevailed on her claims—inclusive of derivative claims, penalty claims, and claims for
17   liquidated damages—at approximately $16,000,000. Id. at ¶ 25. The total amount of damages is
18   broken down as follows:
19          Plaintiff calculated that unpaid wages owed, based on the assumption for each workday (and
20   inclusive of overtime) of 1.083 hours of unpaid meal break work (0.5 hours), work during rest
21   periods (0.25 hours), pre-shift off-the-clock work (0.1667 hours), and post-shift off-the-clock work
22   (0.1667) for each shift worked, would total approximately $14,341,000 for the approximately 7,300
23   putative class members. Id. at ¶¶ 27-31.
24          The negotiated non-reversionary Gross Settlement Amount of $5,500,000 represents
25   approximately 38% of the $14,341,000 that Plaintiff calculated for the core unpaid wages claims.
26   Id. at ¶ 32. In total, the $5,500,000 Gross Settlement Amount represents approximately 34% of
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 1   Defendants’ total exposure of $16,000,000. Id. Again, these figures are based on Plaintiff’s
 2   assessment of a best-case-scenario. To have obtained such a result at trial, Plaintiff would have had
 3   to prove that all approximately 7,300 class members experienced the violations at the levels
 4   described above for every shift and every assignment, and that Defendants acted knowingly or in
 5   bad faith. Id.
 6          Plaintiff and her counsel considered the significant risks of continued litigation, described
 7   hereinafter, when considering the proposed Settlement. Id. at ¶ 33. These risks were front and
 8   center, particularly given the nature of the off-the-clock work, which would be challenging to
 9   certify as a class action and/or to prove the claims on the merits. Id. In contrast, the Settlement will
10   result in immediate and certain payment to the Class and Collective members of meaningful
11   amounts, representing more than 38% of their core claims for unpaid wages. These amounts provide
12   significant compensation to the Class and Collective members, and the Settlement provides an
13   excellent recovery in the face of expansive and uncertain litigation. In light of all the risks, the
14   settlement amount is fair, reasonable, and adequate. Id.
15            B. Class and Collective definitions.
16          The Class members are comprised of approximately 7,300 current and former non-exempt
17   workers with direct patient care responsibilities, including registered nurses, licensed practical
18   nurses, certified nursing assistants, technicians, and other patient care workers who worked for a
19   facility owned/operated by CHI Franciscan at any time from April 9, 2015 through the date the
20   Court preliminarily approves this settlement.
21          The “FLSA Collective” means all current and former class members who have either already
22   opted in to the FLSA collective action, or who otherwise timely submit a written consent to become
23   Opt-In Plaintiffs in conjunction with the Settlement.
24          The “Rule 23 Sub-Class” means all current and former Class members who do not exclude
25   themselves from the settlement entirely.
26

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 1            C. Allocation and awards.
 2          Depending on the Court’s award of attorneys’ fees, the Net Settlement Amount to be paid to
 3   the Class members will be approximately $3,573,016.67 (if a one-third attorneys’ fee is awarded,
 4   plus attorneys’ costs, settlement administrator costs, and service award). See Cottrell Decl. at ¶ 36.
 5   Class members will have the option to submit an opt-in form to participate in the FLSA collective
 6   action portion of the settlement. Id. at ¶ 37 and n.1. Each Class member’s settlement share will be
 7   determined as a pro-rata share of the Net Settlement Amount based on the total number of
 8   workweeks worked by each participating class member. Id. The portion of the Settlement allocated
 9   for the FLSA claims is set not to exceed $500,000, of which any unused portion will be redistributed
10   back to the participating Class members and/or a cy pres beneficiary in the event the uncashed
11   settlement share checks do not exceed $50,000. Id.
12          Plaintiff also requests approval of a service payment to Named Plaintiff and Class
13   Representative Hana Etcheverry. Id. at ¶¶ 82-85.
14            D. Scope of release.
15          The releases contemplated by the proposed Settlement are dependent upon whether the Class
16   member files a written consent to become an Opt-In Plaintiff, whether they are a Rule 23-only
17   participant, or whether they elect to opt-out of the settlement altogether. Opt-In Plaintiffs will
18   release any and all claims under the FLSA based on or arising out of the same factual predicates of
19   the Action, as well as any state law wage and hour claims that could have been brought on the
20   factual allegations in the Complaint. See Exhibit A, Settlement Agreement at ¶ III.G. The Rule 23
21   Class members who do not submit an opt-in form to become part of the FLSA Collective Action
22   will release any and all claims under applicable Washington state law, based on or arising out of
23   the same factual predicates of the Action, including all claims that were or could have been raised
24   in the Action and any other wage and hour claims for damages, premiums, penalties, interest,
25   attorneys’ fees, and equitable relief, but will not release their potential FLSA claims. Id. at ¶ III.G.1-
26   3.
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 1          The releases are effective upon final approval of the Settlement. Id. at ¶ III.G. The release
 2   timing extends through the date of preliminary approval of the Settlement. Id. at ¶ I.J. Named
 3   Plaintiff Etcheverry also agrees to a general release. Id. at ¶ III.G.3.
 4            E. Settlement administration.
 5          The Parties have agreed to use Settlement Services, Inc. to administer the Settlement
 6   (“Settlement Administrator”), for total fees and costs currently estimated at $72,650. See Cottrell
 7   Decl. at ¶¶ 22, 45. The Settlement Administrator will distribute the Notice of Settlement and Claims
 8   Form via email (if email addresses are available) and U.S. Mail, calculate individual settlement
 9   payments, calculate all applicable payroll taxes, withholdings and deductions, and prepare and issue
10   all disbursements to Class Members, the Class Representative, Plaintiff’s counsel, and applicable
11   state and federal tax authorities. Id.; see also Exhibit A, Settlement Agreement at ¶ III.B-F.
12                                            V.     ARGUMENT
13          A.       The Court should grant preliminary approval of the Settlement of the Class and
                     Collective Claims.
14
            Under Rule 23(e)(1), a district court should direct notice of a proposed settlement to the class
15
     members who would be bound by it only if the parties show that the court will likely be able to
16
     approve the proposed settlement and certify the class for purposes of judgment. Fed. R. Civ. P.
17
     23(e)(1); see also Briseno v. Henderson, Case No. 19-56297, 2021 WL 2197968, at *6, --- F.3d --
18
     - (9th Cir. June 1, 2021) (acknowledging revision of Rule 23(e)). “This decision has been called
19
     ‘preliminary approval.’” Fed. R. Civ. P. 23 advisory committee’s note on 2018 Amendment.
20
     Whether to grant preliminary approval and provide notice is committed to the sound discretion of
21
     the court. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998). Rule 23 requires that
22
     all class action settlements satisfy two primary prerequisites before a court may grant certification
23
     for purposes of preliminary approval: (1) that the settlement class meets the requirements for class
24
     certification if it has not yet been certified; and (2) that the settlement is fair, reasonable, and
25
     adequate. Fed. R. Civ. P. 23(a), (e)(2); Hanlon, 150 F.3d at 1020. This class action settlement
26
     satisfies the requirements of Rule 23(a) and (b), and it is fair, reasonable, and adequate in
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 1   accordance with Rule 23(e)(2). See Cottrell Decl. at ¶ 47. Accordingly, the Court should
 2   preliminarily approve the Settlement of the Class Action so that notice may be issued to the
 3   Settlement Class members who would be bound.
 4          In the FLSA context, Court approval is required for FLSA collective settlements, but the
 5   Ninth Circuit has not established the criteria that a district court must consider in determining
 6   whether a FLSA settlement warrants approval. See, e.g., Dunn v. Teachers Ins. & Annuity Ass’n of
 7   Am., No. 13-CV-05456-HSG, 2016 WL 153266, at *3 (N.D. Cal. Jan. 13, 2016); Otey v.
 8   CrowdFlower, Inc., No. 12-CV-05524-JST, 2015 WL 153266, at *3 (N.D. Cal. Oct. 16, 2015).
 9   Most courts within the Ninth Circuit, however, first consider whether the named plaintiff is
10   “similarly situated” to the putative collective members within the meaning of 29 U.S.C. § 216(b),
11   and then evaluate the settlement under the standard established by the Eleventh Circuit in Lynn’s
12   Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th Cir. 1982), which requires the
13   settlement to constitute “a fair and reasonable resolution of a bona fide dispute over FLSA
14   provisions.” Otey, 2015 WL 6091741, at *4. “If a settlement in an employee FLSA suit does reflect
15   a reasonable compromise over issues . . . that are actually in dispute,” the district court may
16   “approve the settlement in order to promote the policy of encouraging settlement of litigation.”
17   Lynn’s Food Stores, 679 F.2d at 1354; Otey, 2015 WL 6091741, at *4.
18          As of the date of this filing, 13 individuals filed their written consent to join this Collective
19   action along with Plaintiff Etcheverry. See ECF Nos. 1-1, 12, 45, 55-60. The Parties have further
20   agreed that Class members should be permitted to opt-in to the FLSA collective component of this
21   case for settlement purposes by filing an opt-in form. See, e.g., Exhibit 1, Settlement Agreement at
22   ¶¶ I.S; III.C. The proposed Settlement provides an excellent recovery to the Opt-In Plaintiffs in a
23   reasonable compromise. Accordingly, the Court should approve the Settlement as to the Collective.
24          B.       The Court should conditionally certify the Class.
25          A class may be certified under Rule 23 if (1) the class is so numerous that joinder of all
26   members individually is “impracticable”; (2) questions of law or fact are common to the class; (3)
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 1   the claims or defenses of the class representative are typical of the claims or defenses of the class;
 2   and (4) the person representing the class is able to fairly and adequately protect the interests of all
 3   members of the class. Fed. R. Civ. P. 23(a). Furthermore, Rule 23(b)(3) provides that a class action
 4   seeking monetary relief may only be maintained if “the court finds that the questions of law or fact
 5   common to class members predominate over any questions affecting only individual members, and
 6   that a class action is superior to other available methods for fairly and efficiently adjudicating the
 7   controversy.” Fed. R. Civ. P. 23(b)(3). Applying this standard, numerous cases similar to this case
 8   have certified classes of employees who have allegedly suffered wage and hour violations under
 9   the wage and hour laws of Washington. Likewise, Plaintiff contends that the Rule 23 Sub-Class
10   meets all of these requirements.
11                   1.        The Class is numerous and ascertainable.
12          The numerosity prerequisite demands that a class be large enough that joinder of all members
13   would be impracticable. Fed. R. Civ. P. 23(a)(1). While there is no exact numerical cut-off, courts
14   have routinely found numerosity satisfied with classes of at least 40 members. See, e.g., Ikonen v.
15   Hartz Mountain Corp., 122 F.R.D. 258, 262 (S.D. Cal. 1988); Romero v. Producers Dairy Foods,
16   Inc., 235 F.R.D. 474, 485 (E.D. Cal. 2006). Here, there are approximately 7,300 putative Class
17   members, which exceeds the standard “40 class member” minimum for numerosity purposes, and
18   such a number would render joinder impracticable. See Cottrell Decl. at ¶ 49. The Class members
19   are readily identifiable from Defendants’ payroll and personnel records. Id.
20                   2.        Plaintiff’s claims raise common issued of fact or law.
21          The commonality requirement of Rule 23(a)(2) “is met if there is at least one common
22   question or law or fact.” Fry v. Hayt, Hayt & Landau, 198 F.R.D. 461, 467 (E.D. Pa. 2000). Rule
23   23(a)(2) has been construed permissively. Hanlon, 150 F.3d at 1019. Plaintiffs “need not show that
24   every question in the case, or even a preponderance of questions, is capable of classwide
25   resolution.” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 544 (9th Cir. 2013). “[E]ven a single
26   common question” can satisfy the commonality requirement of Rule 23(a)(2). Id.
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 1          Plaintiff contends that common questions of law and fact predominate here, satisfying
 2   paragraphs (a)(2) and (b)(3) of Rule 23, as alleged in the operative complaints. See Cottrell Decl.
 3   at ¶¶ 50-52. Defendants have uniform policies applicable to the Class members. Id. Specifically,
 4   Plaintiff alleges that the Class members all perform the same primary job duties—providing direct
 5   patient care services. Plaintiff alleges the wage and hour violations are in large measure borne of
 6   Defendants’ standardized policies, practices, and procedures that impacts these direct patient care
 7   workers in the same ways, creating pervasive issues of fact and law that are amenable to resolution
 8   on a class-wide basis. In particular, these Class members are largely subject to the same: hiring and
 9   training process; timekeeping, payroll, and compensation policies; and meal and rest period policies
10   and practices. Id. Plaintiff’s other derivative claims will rise or fall with the primary claims. Id.
11   Because these questions can be resolved at the same juncture, Plaintiff contends the commonality
12   requirement is satisfied for the Class. Id.
13          With regards to the FLSA Collective Action, there is little question that these Class members
14   are also “similarly situated” as that term has been interpreted by copious case law. See, e.g., Bazzell
15   v. Body Contour Center, LLC, No. C16-0202JLR, 2016 WL 3655274, at *6 (W.D. Wash. July 8,
16   2016) (finding hourly paid employees “similarly situated” and conditionally certifying collective
17   with overtime claims across 12 states); Khadera v. ABM Indust., Inc., 701 F. Supp. 2d 1190, 1194
18   (W.D. Wash. 2010) (certifying collective of employees who worked for employer at various
19   locations); Hoffman v. Securitas Sec. Servs., No. CV07-502-S-EJL, 2008 WL 5054684, at *2 (D.
20   Idaho Aug. 27, 2008) (conditionally certifying collective of employees who worked “on an hourly
21   basis, in several job classifications, and at different locations” and who were subjected to same
22   employer policies). The Parties agreed, for settlement purposes, that these Class members are
23   “similarly situated,” and indeed each of these workers have similar job duties, patient care
24   responsibilities, each is a non-exempt, patient care hourly worker, and they are all subject to
25   substantially similar meal break, rest break, and timekeeping policies and practices. Because
26   Defendants maintain various common policies and practices as to what work they compensate and
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 1   what time they do not compensate, and apply these policies and practices to the Class members,
 2   Plaintiff contends that there are no individual defenses available to Defendants. Id., ¶ at 52.
 3                   3.        Plaintiff’s claims are typical of the claims of the Class.
 4          “Rule 23(a)(3) requires that the claims of the named parties be typical of the claims of the
 5   members of the class.” Fry, 198 F.R.D. at 468. “Under the rule’s permissive standards, a
 6   representative’s claims are ‘typical’ if they are reasonably coextensive with those of absent class
 7   members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020. Here, Plaintiff
 8   contends that her claims are typical of those of all other Class Members. See Cottrell Decl. at ¶¶
 9   53-54. The Class Members were subject to the alleged illegal policies and practices that form the
10   basis of the claims asserted by Plaintiff in this case. Id. Interviews with Class Members and review
11   of timekeeping and payroll data confirm that these non-exempt patient care employees were
12   subjected to the same alleged illegal policies and practices to which Plaintiff alleges she was
13   subjected. Id. Thus, Plaintiff contends the typicality requirement is also satisfied. Id.
14                   4.        Plaintiff and Class Counsel will adequately represent the Class.
15          To meet the adequacy of representation requirement in Rule 23(a)(4), Plaintiff must show
16   “(1) that the putative named plaintiff has the ability and the incentive to represent the claims of the
17   class vigorously; (2) that he or she has obtained adequate counsel, and (3) that there is no conflict
18   between the individual's claims and those asserted on behalf of the class.” Fry, 198 F.R.D. at 469.
19   Plaintiff’s claims are in line with the claims of the Class, and Plaintiff’s claims are not antagonistic
20   to the claims of Class Members. See Cottrell Decl. at ¶¶ 55-56. Plaintiff has prosecuted this case
21   with the interests of the Class Members in mind. Id. Moreover, Plaintiff’s counsel has extensive
22   experience in class action and employment litigation, including wage and hour class actions, and
23   do not have any conflict with the Class. Id. at ¶¶ 5-7, 56.
24                   5.        The Rule 23(b)(3) requirements for class certification are also met.
25          Under Rule 23(b)(3), Plaintiff must demonstrate that common questions “predominate over
26   any questions affecting only individual members” and that a class action is “superior to other
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 1   available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
 2   “The predominance analysis under Rule 23(b)(3) focuses on ‘the relationship between the common
 3   and individual issues’ in the case and ‘tests whether proposed classes are sufficiently cohesive to
 4   warrant adjudication by representation.’” Wang, 737 F.3d at 545.
 5          Here, Plaintiff contends the common questions raised in this action predominate over any
 6   individualized questions concerning the Class. See Cottrell Decl. at ¶¶ 50-52, 57. The Class are
 7   entirely cohesive because resolution of Plaintiff’s claims hinge on the uniform policies and practices
 8   of Defendants, rather than the treatment the Class Members experienced on an individual level. Id.
 9   As a result, Plaintiff contends the resolution of these alleged class claims would be achieved through
10   the use of common forms of proof, such as Defendants’ uniform policies, and would not require
11   inquiries specific to individual Class Members. Id.
12          Further, Plaintiff contends the class action mechanism is a superior method of adjudication
13   compared to a multitude of individual suits. Id. at ¶¶ 58-59. To determine whether the class
14   approach is superior, courts are to consider: (A) the class members’ interests in individually
15   controlling the prosecution or defense of separate actions; (B) the extent and nature of any litigation
16   concerning the controversy already begun by or against class members; (C) the desirability or
17   undesirability of concentrating the litigation of the claims in the particular forum; and (D) the likely
18   difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3)(A)-(D).
19          Here, the Class Members do not have a strong interest in controlling their individual claims.
20   See Cottrell Decl. at ¶¶ 58-59. The action involves thousands of workers with very similar, but
21   relatively small, claims for monetary injury. Id. If the Class Members proceeded on their claims as
22   individuals, their many individual suits would require duplicative discovery and duplicative
23   litigation, and each Class Member would have to personally participate in the litigation effort to an
24   extent that would never be required in a class proceeding. Id. Thus, Plaintiff contends the class
25   action mechanism would efficiently resolve numerous substantially identical claims at the same
26

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 1   time while avoiding a waste of judicial resources and eliminating the possibility of conflicting
 2   decisions from repetitious litigation and arbitrations. Id.
 3          The issues raised by the present case are much better handled collectively by way of a
 4   settlement. Id. at ¶ 60. Manageability is not a concern in the settlement context. Amchem Prod., Inc.
 5   v. Windsor, 521 U.S. 591, 593 (1997). The Settlement presented by the Parties provides finality,
 6   ensures that workers receive substantial redress for their claims, and avoids clogging the legal
 7   system with numerous cases. See Cottrell Decl. at ¶ 61. Accordingly, class treatment is efficient
 8   and warranted, and the Court should conditionally certify the Class for settlement purposes.
 9          C.       The Settlement should be preliminarily approved as to the Class because it is
                     fair, reasonable, and adequate.
10
            In deciding whether to approve a proposed class or collective settlement, the Court must find
11
     that the proposed settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). Under Rule
12
     23(e)(2), a district court considers whether (A) the class representatives and their counsel have
13
     adequately represented the class; (B) the proposal was negotiated at arm’s length; (C) the relief
14
     provided by the settlement is adequate, taking into account: (i) the costs, risks, and delay of trial and
15
     appeal; (ii) the effectiveness of any proposed method of distributing relief including the method of
16
     processing class-member claims, if required; (iii) the terms of any proposed award of attorneys’ fees,
17
     including timing of payment; (iv) any agreement required to be identified under Rule 23(e)(3) made
18
     in connection with the proposed settlement; and (v) the proposal treats class members equitably
19
     relative to each other. Fed. R. Civ. P. 23(e)(2).
20
            These factors are similar to those previously identified by the Ninth Circuit, including:
21
     (1) the strength of the plaintiffs’ case; (2) the risk, expense, complexity, and likely duration of
22
     further litigation; (3) the risk of maintaining class action status throughout the trial; (4) the amount
23
     offered in settlement; (5) the extent of discovery completed and the stage of the proceedings; (6)
24
     the experience and views of counsel; (7) the presence of a governmental participant; and (8) the
25
     reaction of the class members to the proposed settlement. Churchill Village, LLC. v. Gen. Elec.,
26
     361 F.3d 566, 575 (9th Cir. 2004) (citing Hanlon, 150 F.3d at 1026). Importantly, courts apply a
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 1   presumption of fairness “if the settlement is recommended by class counsel after arm’s-length
 2   bargaining.” Wren v. RGIS Inventory Specialists, No. C-06-05778 JCS, 2011 WL 1230826, at *6
 3   (N.D. Cal. Apr. 1, 2011). There is also “a strong judicial policy that favors settlements, particularly
 4   where complex class action litigation is concerned.” In re Syncor ERISA Litig., 516 F.3d 1095, 1101
 5   (9th Cir. 2008). In light of these factors, the proposed settlement is fair, reasonable, and adequate.
 6                    1.        The Settlement is the product of informed, non-collusive, and arm’s-
                                length negotiations between experienced counsel.
 7
             Courts routinely presume a settlement is fair where it is reached through arm’s-length
 8
     bargaining. See Hanlon, 150 F.3d at 1027; Wren, 2011 WL 1230826, at *14. Furthermore, where
 9
     counsel are well-qualified to represent the proposed class and collective in a settlement based on
10
     their extensive class and collective action experience and familiarity with the strengths and
11
     weaknesses of the action, courts find this factor to support a finding of fairness. Wren, 2011 WL
12
     1230826, at *10; Carter v. Anderson Merchandisers, LP, No. EDCV 08-0025-VAP OPX, 2010
13
     WL 1946784, at *8 (C.D. Cal. May 11, 2010) (“Counsel’s opinion is accorded considerable
14
     weight.”).
15
     Here, the settlement was a product of non-collusive, arm’s-length negotiations. See Cottrell Decl.
16
     at ¶ 79. The Parties participated in mediation with Cliff Freed, who is a skilled and experienced
17
     mediator, that consisted of a lengthy session that lasted well into the night. Id. The Parties then
18
     spent several months continuing settlement negotiations, negotiating the material terms of the
19
     Settlement, and even more months negotiating the long form settlement agreement, with several
20
     rounds of revisions and proposals related to the terms and details of the Settlement. Id. at ¶ 80.
21
     Plaintiff is represented by experienced and respected litigators of representative wage and hour
22
     actions, and these attorneys feel strongly that the proposed Settlement achieves an excellent result
23
     for the Class Members. Id. at ¶ 81.
24

25

26

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 1                   2.        The terms of the Settlement are fair, reasonable, and adequate.
 2          In evaluating the fairness of a proposed settlement, courts compare the settlement amount
 3   with the estimated maximum damages recoverable in a successful litigation. In re Mego Fin. Corp.
 4   Sec. Litig., 213 F.3d 454, 459 (9th Cir.2000). Courts routinely approve settlements that provide a
 5   fraction of the maximum potential recovery. See, e.g., Officers for Justice, 688 F.2d at 623; Viceral
 6   v. Mistras Grp., Inc., Case No. 15-cv-2198-EMC, 2016 WL 5907869, at *7 (N.D. Cal. Oct. 11,
 7   2016) (approving wage and hour settlement which represented 8.1% of the total verdict value). A
 8   review of the Settlement Agreement reveals the fairness, reasonableness, and adequacy of its terms.
 9   See Cottrell Decl. at ¶¶ 62. The Gross Settlement Amount of $5,500,000, which represents more
10   than 38% of the approximate $14,341,000 that Plaintiff calculated in unpaid wages that would have
11   been owed to all Class Members if each had been able to prove that he or she worked 1.083 hours
12   off-the-clock in every workday during the relevant time period. Id. at ¶ 63. When adding other
13   substantive claims and potential penalties, the $5,500,000 settlement amount represents
14   approximately 31% of Defendants’ total potential exposure of $16,000,000. Id. Again, these figures
15   are based on Plaintiff’s assessment of a best-case-scenario. To have obtained such a result at trial(s),
16   Plaintiff would have had to prove that each of the Class Member worked off-the-clock for 1.083
17   hours in each workday and that Defendants acted knowingly or in bad faith. Id. at ¶ 64. These
18   figures would of course be disputed and hotly contested. Id. The result is well within the reasonable
19   standard when considering the difficulty and risks presented by pursuing further litigation. Id. The
20   final settlement amount takes into account the substantial risks inherent in any class action wage-
21   and hour case, as well as the procedural posture of the Action and the specific defenses asserted by
22   Defendants. Id. at ¶ 65; see Officers for Justice, 688 F.2d at 623.
23                        3. The extensive informal discovery and mediation process enabled the
                             Parties to make informed decisions regarding the Settlement.
24

25          The amount of discovery completed prior to reaching a settlement is important because it
26   bears on whether the Parties and the Court have sufficient information before them to assess the
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 1   merits of the claims. See, e.g., Boyd v. Bechtel Corp., 485 F. Supp. 610, 617, 625 (N.D. Cal. 1979);
 2   Lewis v. Starbucks Corp., No. 2:07-cv-00490-MCE-DAD, 2008 WL 4196690, at *6 (E.D. Cal.
 3   Sept. 11, 2008). Informal discovery may also assist parties with “form[ing] a clear view of the
 4   strengths and weaknesses of their cases.” Monterrubio v. Best Buy Stores, L.P., 291 F.R.D. 443,
 5   454 (E.D. Cal. 2013).
 6          The Parties engaged in extensive formal and informal discovery and class outreach that have
 7   enabled both sides to assess the claims and potential defenses in this action. See Cottrell Decl. at ¶
 8   68. The Parties were able to accurately assess the legal and factual issues that would arise if the
 9   case proceeded to trial. Id. In addition, in reaching this Settlement, Plaintiff’s counsel relied on their
10   substantial litigation experience in similar wage and hour class and collective actions. Id. at ¶¶ 5-7,
11   69. Plaintiff’s counsel’s liability and damages evaluation was premised on a careful and extensive
12   analysis of the effects of Defendants’ compensation policies and practices on Class Members’ pay.
13   Id. at ¶ 70. Ultimately, facilitated by the mediator, the Parties used this information and discovery
14   to fairly resolve the litigation. Id. at ¶ 71.
15                   4.        The Parties have agreed to distribute settlement proceeds tailored to the
                               Class and their respective claims.
16
            In an effort to ensure fairness, the Parties have agreed to allocate the settlement proceeds
17
     amongst Class Members in a manner that recognizes that amount of time that the particular Class
18
     Member worked for Defendants in the applicable limitations period. The allocation method, which
19
     is based on the Class Members’ total workweeks within the relevant time period, will ensure that
20
     longer-tenured workers receive a greater recovery. The allocation was made based on Class
21
     Counsel’s assessment to ensure that employees are compensated accordingly and in the most
22
     equitable manner. Id. at ¶ 66. To the extent that any Class Member is both a FLSA Opt-In Plaintiff
23
     and a member of a Rule 23 Class, the settlement shares apportioned to each Opt-In Plaintiff will be
24
     calculated to avoid “double-recovery.” Id. at ¶ 67. Each Class Member will receive a Settlement
25
     Share, calculated by dividing the Net Settlement Fund by the total number of workweeks worked
26
     by all Participating Class Members during the Class Period, and multiplying the result by each
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 1   individual Class Members’ total workweeks during the Class Period. See Settlement Agreement at
 2   ¶ III.D.1-2. The Parties have allocated $500,000 of the Net Settlement Fund to be paid to those
 3   Class Members who opt-in to the FLSA collective action, with payment of a Settlement Share from
 4   the FLSA Net Settlement Fund to each Opt-in Plaintiff to be calculated by the total number of
 5   workweeks working by all FLSA Collective Members during the FLSA Collective Period, and
 6   multiplying each individual Opt-In Plaintiff’s workweeks worked during the FLSA Collective
 7   Period. Id. at ¶ III.C
 8          A class action settlement need not benefit all class members equally. Holmes v. Continental
 9   Can Co., 706 F.2d 1144, 1148 (11th Cir. 1983); In re AT & T Mobility Wireless Data Services Sales
10   Tax Litigation, 789 F. Supp. 2d 935, 979–80 (N.D. Ill. 2011). Rather, although disparities in the
11   treatment of class and collective members may raise an inference of unfairness and/or inadequate
12   representation, this inference can be rebutted by showing that the unequal allocations are based on
13   legitimate considerations. Holmes, 706 F.2d at 1148; In re AT & T, 789 F.Supp.2d at 979–80.
14   Plaintiff provides rational and legitimate bases for the allocation method here, and the Parties
15   submit that it should be approved by the Court.
16                   5.        Litigating the Action would not only delay recovery, but would be
                               expensive, time-consuming, and involve substantial risk.
17
            The monetary value of the proposed Settlement represents a fair compromise given the risks
18
     and uncertainties posed by continued litigation. See Cottrell Decl. at ¶ 72. If the Action were to go
19
     to trial as a class and collective action (which Defendants would vigorously oppose if this
20
     Settlement Agreement were not approved), Class Counsel estimates that fees and costs would
21
     exceed $5,000,000. Id. at ¶ 73. Litigating the class and collective action claims would require
22
     substantial additional preparation and discovery. Id. It would require depositions of experts, the
23
     presentation of percipient and expert witnesses at trial, as well as the consideration, preparation,
24
     and presentation of voluminous documentary evidence and the preparation and analysis of expert
25
     reports. Id.
26

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 1          Recovery of the damages and penalties previously referenced would also require complete
 2   success and certification of all of Plaintiff’s claims, a questionable feat in light of developments in
 3   wage and hour and class and collective action law as well as the legal and factual grounds that
 4   Defendants have asserted to defend this action. Id. at ¶ 74. Off-the-clock claims are difficult to
 5   certify for class treatment, given that the nature, cause, and amount of the off-the-clock work may
 6   vary based on the individualized circumstances of the worker. See, e.g., Villafan v. Broadspectrum
 7   Downstream Servs., No. 18-cv-06741-LB, 2020 U.S. Dist. LEXIS 218152, at *15 (N.D. Cal. Nov.
 8   20, 2020) (citing In re AutoZone, Inc., Wage & Hour Employment Practices Litig., 289 F.R.D. 526,
 9   539 (N.D. Cal. 2012), aff'd, No. 17-17533, 2019 WL 4898684 (9th Cir. Oct. 4, 2019)); Kilbourne
10   v. Coca-Cola Co., No. 14CV984-MMA BGS, 2015 WL 5117080, at *14 (S.D. Cal. July 29, 2015);
11   York v. Starbucks Corp., No. CV 08-07919 GAF PJWX, 2011 WL 8199987, at *30 (C.D. Cal. Nov.
12   23, 2011). While Plaintiff is confident that she would establish that common policies and practices
13   give rise to the off-the-clock work for the patient care staff at issue here, Plaintiff acknowledged
14   that such off-the-clock work was performed at various of different departments across the hospital,
15   each with its own supervisors and management staff. See Cottrell Decl. at ¶¶ 75-77. With those
16   considerations in mind, Plaintiff recognized that obtaining class certification would present an
17   obstacle, with the risk that the nursing staff might only be able pursue individual actions in the
18   event that certification was denied. Certification of off-the-clock work claims is complicated by the
19   lack of documentary evidence and reliance on employee testimony, and Plaintiff would likely face
20   motions for decertification as the case progressed. Id. Given that a significant portion of the
21   estimated damages are largely driven by the alleged off-the-clock work, Plaintiff’s counsel factored
22   a significant discount into the hypothetical value of the off-the-clock claims when assessing the
23   final Settlement amount reached with the assistance of Cliff Freed. Id.
24          In contrast to litigating this suit, resolving this case by means of the Settlement will yield a
25   prompt, certain, and very substantial recovery for the Class Members. Id. at ¶ 78. Such a result will
26

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 1   benefit the Parties and the court system. Id. It will bring finality to extensive litigation, and will
 2   foreclose the possibility of expanding litigation.
 3          D.          The Class Representative enhancement payment is reasonable.
 4          Named plaintiffs in class action litigation are eligible for reasonable service awards. See
 5   Staton v. Boeing Co., 327 F.3d 938, 977 (9th Cir. 2003). Plaintiff Etcheverry’s enhancement
 6   payment of up to $10,000 is intended to compensate her for the critical role she played in this case,
 7   and the time, effort, and risks undertaken in helping secure the result obtained on behalf of the Class
 8   members, as well as her agreement to a broader, general release. See Cottrell Decl. at ¶¶ 82-85. In
 9   agreeing to serve as Class and Collective representative, Plaintiff formally agreed to accept the
10   responsibilities of representing the interests of all Class Members. Id. Defendants do not oppose the
11   requested payment to Plaintiff as a reasonable service award. Id.
12          Moreover, the service award is fair when compared to the payments approved in similar
13   cases. See, e.g., Rausch v. Hartford Fin. Servs. Grp., No. 01-cv-1529-BR, 2007 U.S. Dist. LEXIS
14   14740, at *2 (D. Or. Feb. 26, 2007) (finding incentive award of $10,000 reasonable when awards
15   to unnamed class members were as little as $150); May v. Wynn Las Vegas, LLC, No. 2:15-cv-
16   02142-RFB-DJA, 2021 U.S. Dist. LEXIS 15898, at *10 (D. Nev. Jan. 25, 2021) (approving class
17   service awards of $15,000 for each of three class representatives); Soto, et al. v. O.C.
18   Communications, Inc., et al., Case No. 3:17-cv-00251-VC, ECF 304 (N.D. Cal. Oct. 23, 2019)
19   (approving $15,000 and $10,000 service awards in hybrid FLSA/Rule 23 settlement); Guilbaud v.
20   Sprint/United Management Co., Inc., No. 3:13-cv-04357-VC, Dkt. No. 181 (N.D. Cal. Apr. 15,
21   2016) (approving $10,000 service payments for each class representative in FLSA and California
22   state law representative wage and hour action).
23          E.       The requested attorneys’ fees and costs are reasonable.
24          In Plaintiff’s fee motion to be submitted with the final approval papers, Plaintiff’s counsel
25   will request up to one-third (1/3) of the Gross Settlement Amount, or $1,833,333.33, plus
26   reimbursement of costs up $11,000). See Cottrell Decl. at ¶¶ 86-90. Plaintiff’s counsel will provide
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 1   the lodestar information for Schneider Wallace Cottrell Konecky LLP and Terrell Marshall Law
 2   Group PLLC with the fee motion, and anticipate that the aggregate lodestar will be approximately
 3   on par with the requested fee award. Id. On this basis, the requested attorneys’ fees award of one-
 4   third of the Gross Settlement Amount is reasonable. Id.; see, e.g., Vizcaino v. Microsoft Corp., 290
 5   F. 3d 1043, 1050-51 (9th Cir. 2002) (“Calculation of the lodestar, which measures the lawyers’
 6   investment of time in the litigation, provides a check on the reasonableness of the percentage
 7   award”).
 8          The typical range of acceptable attorneys’ fees in the Ninth Circuit is 20% to one-third of the
 9   total settlement value, with 25% considered the “benchmark.” Vasquez v. Coast Valley Roofing,
10   266 F.R.D. 482, 491-492 (E.D. Cal. 2010) (citing Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir.
11   2000)); Hanlon, 150 F.3d at 1029; Staton, 327 F.3d at 952. However, the exact percentage varies
12   depending on the facts of the case, and in “most common fund cases, the award exceeds that
13   benchmark.” Id. (citing Knight v. Red Door Salons, Inc., No. 08-01520 SC, 2009 WL 248367 (N.D.
14   Cal. 2009); In re Activision Sec. Litig., 723 F. Supp. 1373, 1377-78 (N.D. Cal. 1989) (“nearly all
15   common fund awards range around 30%”)).
16          “‘In cases where recovery is uncertain, an award of one third of the common fund as
17   attorneys’ fees has been found to be appropriate.’” Demmings v. KKW Trucking, Inc., No. 3:14-
18   cv-0494-SI, 2018 U.S. Dist. LEXIS 159749, at *39 (D. Or. Sept. 19, 2018) (emphasis added)
19   (quoting Franco v. Ruiz Food Prods., No. 1:10-cv-02354-SKO, 2012 WL 5941801, at *16 (E.D.
20   Cal. Nov. 27, 2012)).
21          Indeed, the “risk of costly litigation and trial is an important factor in determining the fee
22   award.” Bell v. Consumer Cellular, Inc., No. 3:15-cv-941-SI, 2017 U.S. Dist. LEXIS 95401, at *29
23   (D. Or. June 21, 2017) (citing Rosales v. El Rancho Farms, No. 1:09-CV-00707 -AWI-JLT, 2015
24   U.S. Dist. LEXIS 95775, at *52 (E.D. Cal. July 21, 2015); Chemical Bank v. City of Seattle (In re
25   Washington Pub. Power Supply Sys. Sec. Litig.), 19 F.3d 1291, 1299-1301 (9th Cir. 1994)). When
26   considering the risks posed in litigation, “the risk of loss in a particular case is a product of two
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 1   factors: (1) the legal and factual merits of the claim, and (2) the difficulty of establishing those
 2   merits.” City of Burlington v. Dague, 505 U.S. 557, 562, 112 S. Ct. 2638, 120 L. Ed. 2d 449 (1992).
 3           In this case, given the excellent results achieved, the effort expended on discovery and in
 4   extensive mediated settlement negotiations, and the risks and difficulties attendant to litigating this
 5   hybrid class/collective case, a modest upward adjustment from the benchmark is warranted. See
 6   Cottrell Decl. at ¶¶ 86-90. There was no guarantee of compensation or reimbursement. Id. Rather,
 7   counsel undertook all the risks of this litigation on a completely contingent fee basis. Id. These risks
 8   were front and center. Id. Defendants vigorously and skillfully defended this action and confronted
 9   Plaintiff’s counsel with the prospect of recovering nothing or close to nothing for their commitment
10   to and investment in the case. Id.
11          Nevertheless, Plaintiff and her counsel committed themselves to developing and pressing
12   Plaintiff’s legal claims to enforce the employees’ rights and maximize the class and collective
13   recovery. Id. The challenges that Class Counsel had to confront and the risks they had to fully
14   absorb on behalf of the class and collective here are precisely the reasons for multipliers in
15   contingency fee cases. See, e.g., Noyes v. Kelly Servs., Inc., 2:02-CV-2685-GEB-CMK, 2008 WL
16   3154681 (E.D. Cal. Aug. 4, 2008); Posner, Economic Analysis of the Law, 534, 567 (4th ed. 1992)
17   (“A contingent fee must be higher than a fee for the same legal services paid as they are performed
18   . . . because the risk of default (the loss of the case, which cancels the debt of the client to the
19   lawyer) is much higher than that of conventional loans”).
20          Attorneys who litigate on a wholly or partially contingent basis expect to receive
21   significantly higher effective hourly rates in cases where compensation is contingent on success,
22   particularly in hard-fought cases where, like in the case at bar, the result is uncertain. See Cottrell
23   Decl. at ¶ 89. This does not result in any windfall or undue bonus. Id. In the legal marketplace, a
24   lawyer who assumes a significant financial risk on behalf of a client rightfully expects that his or
25   her compensation will be significantly greater than if no risk was involved (i.e., if the client paid
26   the bill on a monthly basis), and that the greater the risk, the greater the “enhancement.” Id.
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 1   Adjusting court-awarded fees upward in contingent fee cases to reflect the risk of recovering no
 2   compensation whatsoever for hundreds of hours of labor simply makes those fee awards consistent
 3   with the legal marketplace, and in so doing, helps to ensure that meritorious cases will be brought
 4   to enforce important public interest policies and that clients who have meritorious claims will be
 5   better able to obtain qualified counsel. Id.
 6          For these reasons, Plaintiff’s counsel respectfully submits that a one-third recovery for fees
 7   is appropriate. Id. at ¶ 90. Class Counsel also requests reimbursement for their litigation costs in an
 8   amount not to exceed $11,000. Id. Class Counsel’s efforts resulted in an excellent settlement, and
 9   the fee and costs award should be preliminarily approved as fair and reasonable.
10          F.       The Proposed Notice and Claims Form is reasonable.
11          The Court must ensure that Class Members receive the best notice practicable under the
12   circumstances of the case. See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 811-12 (1985); Eisen
13   v. Carlisle & Jacquelin, 417 U.S. 156, 174-75 (1974). Procedural due process does not guarantee
14   any particular procedure but rather requires only notice reasonably calculated “to apprise interested
15   parties of the pendency of the action and afford them an opportunity to present their objections.”
16   Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950); Silber v. Mabon, 18 F.3d
17   1449, 1454 (9th Cir. 1994). A settlement notice “is satisfactory if it ‘generally describes the terms
18   of the settlement in sufficient detail to alert those with adverse viewpoints to investigate and to
19   come forward and be heard.’” Churchill Village LLC, 361 F.3d at 575.
20          The Notice of Settlement and Claims Form, attached as Exhibits A-B to the Settlement
21   Agreement, and manner of distribution negotiated and agreed upon by the Parties are “the best
22   notice practicable.” See Cottrell Decl. at ¶ 91; Fed. R. Civ. P. 23(c)(2)(B). Each of the Class
23   Members has been identified and the Notices of Settlement will be mailed directly to each Class
24   Member, and emailed to those for whom Defendants have an email address. Id. at ¶ 92. The
25   proposed Notices are clear and straightforward, and provide information on the nature of the action
26   and the proposed Settlement Class, the terms and provisions of the Settlement Agreement, and the
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 1   monetary awards that the Settlement will provide Class Members. Id. In addition, the Parties will
 2   provide a settlement website that provides a generic form of the Notice, the Settlement Agreement,
 3   and other case related documents and contact information. Id. ¶ 93.
 4          The proposed Notice fulfills the requirement of neutrality in class notices. Id. at ¶ 94. See
 5   Conte, Newberg on Class Actions, § 8.39 (3rd Ed. 1992). They summarize the proceedings
 6   necessary to provide context for the Settlement Agreement and summarize the terms and conditions
 7   of the Settlement, including an explanation of how the settlement amount will be allocated between
 8   the Named Plaintiffs, Plaintiffs’ counsel, the Settlement Administrator, and the Class Members, in
 9   an informative, coherent and easy-to-understand manner, all in compliance with the Manual for
10   Complex Litigation’s recommendation that “the notice contain a clear, accurate description of the
11   terms of the settlement.” See Cottrell Decl. at ¶ 94; Manual for Complex Litigation, Settlement
12   Notice, § 21.312 (4th ed. 2004).
13          The Notice clearly explains the procedures and deadlines for submitting an opt-in form to
14   become part of the FLSA Collective Action, requesting exclusion from the Settlement, objecting to
15   the Settlement, the consequences of taking or foregoing the various options available to Class
16   Members, and the date, time and place of the Final Approval Hearing. Cottrell Decl. at ¶ 95.
17   Pursuant to Rule 23(h), the proposed Notice of Settlement also sets forth the amount of attorneys’
18   fees and costs sought by Plaintiffs, as well as an explanation of the procedure by which Class
19   Counsel will apply for them. Id. The Notice of Settlement clearly states that the Settlement does
20   not constitute an admission of liability by Defendants. Id. The Notice makes clear that the final
21   settlement approval decision has yet to be made. Id. at ¶ 96. Accordingly, the Notice of Settlement
22   complies with the standards of fairness, completeness, and neutrality required of a settlement class
23   notice disseminated under authority of the Court. See Conte, Newberg on Class Actions, §§ 8.21
24   and 8.39 (3rd Ed. 1992); Manual for Complex Litigation, Certification Notice, § 21.311; Settlement
25   Notice, § 21.312 (4th ed. 2004).
26

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 1          Furthermore, reasonable steps will be taken to ensure that all Class Members receive the
 2   Notice. Cottrell Decl. at ¶ 98. Before mailing, Defendants will provide to the Settlement
 3   Administrator a database that contains the names, last known addresses, last known email addresses
 4   (if any), and social security numbers of each Class Member, along with the applicable number of
 5   workweeks for calculating the respective settlement shares. Id. The Notices of Settlement will be
 6   sent by United States Mail, and also via email to the maximum extent possible. The Settlement
 7   Administrator will make reasonable efforts to update the contact information in the database using
 8   public and private skip tracing methods. Within 14 days of receipt of the Class List from
 9   Defendants, the Settlement Administrator will mail the Notices of Settlement to each Class
10   Member. Id.
11          With respect to Class Notices returned as undeliverable, the Settlement Administrator will
12   re-mail any Notices returned to the Settlement Administrator with a forwarding address following
13   receipt of the returned mail. Id. at ¶ 99. If any Notice is returned to the Settlement Administrator
14   without a forwarding address, the Settlement Administrator will undertake reasonable efforts to
15   search for the correct address, including skip tracing, and will promptly re-mail the Notice of
16   Settlement to any newly found address. Id.
17          Rule 23 Class Members will have 60 days from the mailing of the Notices of Settlement to
18   submit a form to opt-in to the FLSA portion, to opt-out or object to the Settlement. Id. at 100. Any
19   Rule 23 Class Member who does not submit a timely request to exclude themselves from the
20   Settlement will be deemed a Participating Individual whose rights and claims are determined by
21   any order the Court enters granting final approval, and any judgment the Court ultimately enters in
22   the case. Id. Administration of the Settlement will follow upon the occurrence of the Effective Date
23   of the Settlement. Id. at ¶ 101. The Settlement Administrator will provide Class Counsel and
24   Defendants’ Counsel with a report of all Settlement payments within 10 business days after the opt
25   out/objection deadline. Id. at ¶ 102.
26

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 1          Because the proposed Notices of Settlement clearly and concisely describe the terms of the
 2   Settlement and the awards and obligations for Class Members who participate, and because the
 3   Notices will be disseminated in a way calculated to provide notice to as many Class Members as
 4   possible, the Notices of Settlement should be preliminarily approved.
 5          G.       The Court should approve the proposed schedule.
 6          The Settlement Agreement contains the following proposed schedule, which Plaintiffs
 7   respectfully request this Court approve:
 8
       Date of preliminary approval of the Settlement
 9     as to Classes and approval of the Settlement as
       to the Collective
10
       Deadline for CHI Franciscan to provide               Within 21 days after the Court’s
11     Settlement Services Inc. with the Class List         preliminary approval of the Settlement
12     Deadline for Settlement Services Inc.to mail the     Within 14 days after Settlement Services
       Notice of Settlement to Class Members                Inc. receives the Class List
13
       Deadline for Rule 23 Class Members to                60 days after Notices of Settlement are
14     postmark requests to opt-out or file objections to   mailed
       the Settlement, and Deadline for FLSA Class
15     Members to submit an opt-in consent form
16     Deadline for Settlement Services Inc.to provide      Within 10 business days after the opt
       all counsel with a report showing                    out/objection deadline
17
       (i) the names of Rule 23 Class Members and
18     FLSA Class Members;
19     (ii) the Individual Settlement Payments owed to
       each Rule 23 Class Member and FLSA Class
20     Member;
21     (iii) the final number of Class Members who
       have submitted objections or valid letters
22     requesting exclusion from the Settlement; and
23     (iv) the number of undeliverable Notices of
       Settlement.
24
       Deadline for filing of Final Approval Motion         At least 35 days before Final Approval
25                                                          Hearing
26

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       Deadline for Settlement Services Inc.to provide    At least 10 days before Final Approval
 1     the Court and all counsel for the Parties with a   Hearing
       statement detailing the Settlement
 2     Administration Costs and its administration of
       the Notice of Settlement process
 3
       Final Approval Hearing                             To be scheduled by the Court
 4
       Effective Date                                     The date by which the Agreement is
 5                                                        approved by the Court, and latest of: (i) if
                                                          no objection to the Settlement is made, or if
 6                                                        an objection to the Settlement is made and
                                                          Judgment is entered but no appeal is filed,
 7                                                        the last date on which a notice of appeal
                                                          from the Judgment may be filed and none is
 8                                                        filed; or (ii) if Judgment has been entered
                                                          and a timely appeal from the Judgment is
 9                                                        filed, the date the Judgment is affirmed and
                                                          is no longer subject to appeal.
10
       Deadline for Defendants to pay the Gross        Within 15 business days after Effective
11     Settlement Amount into the Qualified Settlement Date
       Account
12
       Deadline for Defendants to deposit the amount      Within 15 business days after Effective
13     of Payroll Taxes                                   Date
14     Deadline for Settlement Services Inc.to make       Within 45 days after the Effective Date
       payments under the Settlement to Participating
15     Individuals, Class Representative, Plaintiffs’
       counsel, and itself
16

17     Check-cashing deadline                             180 days after issuance

18     Deadline for Settlement Services Inc.to provide    As soon as practicable after check-cashing
       written certification of completion of             deadline
19     administration of the Settlement to counsel for
       all Parties and the Court
20
                                          VI.    CONCLUSION
21
            For the foregoing reasons, Plaintiff respectfully requests the Court grant preliminary
22
     approval of the Settlement Agreement as to the Settlement Class, in accordance with the schedule
23
     set forth herein.
24

25

26

27   MOTION FOR PRELIMINARY APPROVAL OF                                SCHNEIDER WALLACE
     CLASS AND COLLECTIVE ACTION SETTLEMENT                            COTTRELL KONECKY LLP
28   (No.: 3:19-cv-05261-RJB-MAT)                                      2000 Powell Street, Suite 1400
     Page 27                                                           Emeryville, CA 94608
                                                                       415-421-7100
         Case 3:19-cv-05261-RJB Document 67 Filed 06/10/21 Page 35 of 35



 1   Dated: June 10, 2021                  Respectfully submitted,
 2

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16
                                           Attorney for Plaintiff and the Putative Class and Collective
17

18

19                                     CERTIFICATE OF SERVICE
20           I hereby certify that on June 10, 2021, a true and accurate copy of the foregoing was
21 electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

22 send email notification of such filing to all counsel of record.

23

24                                                            /s/ Carolyn H. Cottrell
                                                              Carolyn H. Cottrell
25

26

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